EXHIBIT 4
MITCHELL SILBERBERG & KNUPP LLP                                                                         Jeffrey M. Movit
                                                                                             A Professional Corporation
A LAW PARTNERSHIP INCLUDING PROFESSIONAL CORPORATIONS
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September 23, 2020

Via Email and Certified Mail, Return Receipt Requested

Jon R. Fetterolf, Esq.
Zuckerman Spaeder LLP
485 Madison Ave., 10th Floor
New York, NY 10022

Re:       Full Circle United, LLC v. Bay Tek Entm’t, Inc., No. 1:20-cv-03395-BMC

Dear Jon:

We write in response to your letter dated September 15, 2020.

Full Circle’s Tarnishment of the Skee-Ball Trademark and Other Incurable Breaches

Your assertions are hereby rejected. You misapprehend the level of wrongdoing that your client
has engaged in, which is set forth in detail in Bay Tek’s Counterclaims filed this week and
hereby incorporated into this letter by reference. As set forth therein, Full Circle’s breaches are
incurable.1

Further, Full Circle’s effort to excuse its misconduct by pretending it was unaware of these
breaches only underscores its flippant approach to its obligations as a licensee of the Mark. Full
Circle was well aware that its conduct was prohibited by virtue of the express terms of the
License Agreement, which unequivocally prohibits such activities. It is beyond incredible to
suggest that Full Circle and Mr. Pavony did not know, for example, that selling shirts labelled
“Hepatitis Skee” would be in direct conflict to and damaging of a Mark “geared towards family
and children.”2

Given the totality of Full Circle’s behavior and conduct, which reflects widespread, bad faith use
of the Mark, there is no action that it could take that could remedy or remove the damage it has
caused to the Mark. Full Circle’s breaches are simply incurable under applicable law.
Notwithstanding same, and while not required, Full Circle is hereby put on formal notice
pursuant to § 11.6 of the License Agreement, of the numerous material breaches set forth in Bay

1
  You claim Full Circle “cured any potential breach,” by allegedly removing two (of the myriad) highly
objectionable phrases Full Circle has promoted. Not only does this claim demonstrate a willfully myopic view of
Full Circle’s breaches of the License Agreement and blatant infringement of the Mark, it is false. Contrary to your
assertion, Full Circle in fact continues to prominently feature the phrase “Skeemature Ejaculation,” as reflected in
the printout of http://www.brewskeeball.com/philadelphia from today, enclosed herewith.
2
 Likewise, no reasonable reading of the License Agreement grants Full Circle the right to use the Mark in
connection with the types of broadcasts Full Circle has made.
                                                        437 Madison Ave., 25th Floor, New York, New York 10022-7001
                                                        Phone: (212) 509-3900 Fax: (212) 509-7239 Website: WWW.MSK.COM
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Jon R. Fetterolf, Esq.
September 23, 2020
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Tek’s Counterclaims and incorporated herein. This includes, but is not limited to, breaches of §§
3.1, 3.2, 4.1, 4.2, 4.3, 4.5, 4.8, 5.1, 7.1, 7.2, 7.7, 7.8, and 14.4 of the License agreement, for
reasons set forth in Bay Tek’s Counterclaims.3

Recent Trademark Applications of Third Parties

It is unclear to us why you have raised in your letter two trademark applications filed by third
parties as these matters have nothing to do with Full Circle. Section 6 of the License Agreement
provides that Bay Tek has sole discretion in whether or not to pursue infringement actions and
the manner in which such actions are pursued, and that Bay Tek shall not incur liability to Full
Circle based on its decision of whether or not to pursue such infringement actions or the manner
in which it pursues such actions. Though it has no obligation to do so, Bay Tek informs you that
it has sent a cease & desist letter to the applicant of “Skee Golf,” and that an Office Action was
recently filed by the USPTO against “Urban Forest,” due to its references to Skee-Ball.

Nothing set forth herein, or omitted therefrom, is a waiver, concession, or admission as to any
matter. All rights, remedies, claims, and defenses are expressly reserved.

Sincerely,

/s/ Jeffrey M. Movit
Jeffrey M. Movit
A Professional Corporation for
MITCHELL SILBERBERG & KNUPP LLP

JMM/sml
Enclosure

cc:       Shawn Patrick Naunton, Esq.
          Ezra B. Marcus, Esq.
          Christina Casadonte-Apostolou, Esq.
          Paul Thanasides, Esq.
          Eric Pavony, on behalf of Full Circle United, LLC
          John T. Johnson, Esq.
          Kristen McCallion, Esq.




3
 Copies of this notice are hereby provided to Eric Pavony, John T. Johnson, and Kristen McCallion pursuant to §
18.6 of the License Agreement.


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